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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Civil Action No. 1:15-cv-01992-RPM

MICHAEL DONMOYER,

       Plaintiffs,

v.

QUANTA SERVICES, INC. and QUANTA POWER GENERATION INC. and its related
entities, including QUANTA POWER, INC.,

       Defendants.

                          NOTICE OF SETTLEMENT
______________________________________________________________________________

       Plaintiff, Micheal DonMoyer, by and through his attorneys, Bradley A. Levin, Peter G.

Friesen, and Elizabeth A. Walker of LEVIN SITCOFF PC, hereby notifies the Court that the above-

captioned matter has been settled, each party to bear his or its attorney fees and costs. The parties

anticipate filing a stipulation for dismissal with prejudice in the next thirty days.

       DATED this 24th day of January, 2018.

                                                   Respectfully submitted,

                                                   LEVIN SITCOFF PC

                                                   s/Peter G. Friesen
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                                   CERTIFICATE OF SERVICE
        I hereby certify that on this 24th day of January, 2018, a true and correct copy of the
foregoing NOTICE OF SETTLEMENT was electronically filed with the Clerk of the Court
using the CM/ECF system and served on the following by the method indicated which will send
notification of said filing to the following email addresses:

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